                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN



SYMBOLOGY INNOVATIONS LLC,                       )
                                                 )
                       Plaintiff,                )
                                                 )    C.A. No. 2:19-cv-0854
       v.                                        )
                                                 )
HAYAT PHARMACY 3 LLC, AND ZAIBAK                 )    DEMAND FOR JURY TRIAL
PRN LLC,                                         )
                                                 )
                       Defendant.                )
                                                 )


              JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

Symbology Innovations LLC and Defendants Hayat Pharmacy 3 LLC and Zaibak PRN LLC, by

and through their attorneys of record, respectfully and jointly submit this Stipulation of Dismissal

of this action without prejudice, each party to bear its own costs and fees. The parties request that

the Clerk of Court now close this case.




                                          1
            Case 2:19-cv-00854-NJ Filed 08/28/19 Page 1 of 2 Document 16
Dated: August 28, 2019
                                            /s/_Jeffery J. Guerard
/s/Grant McArthur
M Grant McArthur                            Jeffrey J Guerard
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Innovations LLC                             Attorneys for Defendants
                                            Hayat Pharmacy 3 LLC and Zaibak
                                            PRN LLC




IT IS SO ORDERED.


_____________________________________
U.S. District Court Judge


Date: ____________________




                                       2
         Case 2:19-cv-00854-NJ Filed 08/28/19 Page 2 of 2 Document 16
